Case o-4Z1l-/l/f/20-laS Vocl Filed Ov/éyizi Entered Os/oO/2l 10407104

 

Us MECN eee RU rood /

United States Bankruptcy Court for the:

AS TERM cisties ot want! Vv |
|

[al Check if this is an
amended filing

Case number utknowny: Chapter ff

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known}. For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Wi EIDE (RO Ly LL C

 

N

All other names debtor used

 

in the last 8 years

 

 

Inckude any assumed names, °
trade names, and doing business

 

as names

 

3. Debtor's federal Employer ‘& A 4
identification Number r(EIN) — £ Z 20. 44

 

 

 

4. Debtor's address Principal place of business Mailing address, if different from principal place
of business
2! FLAY ON) woops
Number Street Number Street

KAAD
OL) FIELP NY 114

City Staté ZIP Codé Cily State ZIP Cade

 

P.O. Box

 

Location of principal assets, Hf different from

CY FFE principal place of business

County

 

Number Street

 

 

City State ZIP Code

5. Debtor's website te (URL)

 

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Case o-4Z1l-/l/f/20-laS Vocl Filed Ov/éyizi Entered Os/oO/2l 10407104

6. Type of debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-
box. A debfor as defined in

§ 4182(1} who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 204

Debtor WASIDE LEROY? L L C Case number tif known),

 

corporation {including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
O) Partnership (excluding LLP}
C} Other. Specify:

A, Check one:

 

(J Health Care Business (as defined in 11 U.S.C. § 101(27A})
im) Single Assef Real Estate (as defined in 11 U.S.C. § 101(51B))
C2 Raitroad (as defined in 11 U.3.0. § 101(44)}

LY Stockbroker (as defined in 11 U.S.C. § 104(53A))

Q Commodity Broker (as defined in 11 U.S.C. § 107(6))

QO cle Fring Bank (as defined in 14 U.S.C. § 781(3)}

fone of the above

B. Check aff that apply:

(2) Tax-exempt entity {as described in 26 U.S.C. § 501)

C] Investrrent company, including hedge fund or pooled investment vehicle (as defined in +5 U.S.C.
§ 80a-3)}

CI Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11})

C. NAICS {North American Industry Classification System) 4-digit code that best describes debtor. See

hitpvAwww.uscourts.gov/four-digit-national-association-naics-codes .

Check one:

CJ Chapter 7
CE Chapter 9
M Chapter 11. Check all that apply:

. [J The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federat
income tax return or if any of these documents do not exist, follow the procedure in
41U.S.C. § 1116(1){(B).

(J Fhe debtor is a debter as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
lass than $7,506,000, and it chooses to proceed under Subchapter V of
Chapter 41. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these decuments do not exist, follow the procedure in 11 U.S.C.

§ 4116(1}(B).

3A plan is being filed with this petition.

LJ Acceptances of the plan were solicited prepatition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(J The debtor is required to file periodic reports (for example, 10K and 46Q) with the
Securities and Exchange Commission according fo § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Affachment fo Voluntary Petition for Non-individuats Filing
for Bankrupicy under Chapter 17 (Official Form 201A) with this form.

(A The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

OlChapter 12 00

Voluntary Petition for Non-individuais Filing for Bankruptcy page 2
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pee = WINE FROM LLC

 

9. Were prior bankruptcy cases

filed by or against the debtor
within the last 8 years?

if more than 2 cases, aitach a
separate list.

Case number (it inoun)

CJ No

 

 

 

 

40. Are any bankruptcy cases
pending or being filed by a
business partner or an

affiliate of the debtor?

List ail cases. If more than f,
attach a separate list.

11. Why is the case filed in this

district?

 

 

aves. District When Case number
MM/ BD IYYYY
District When Case number
MMi DDIYYYY
Pino
G] Yes. Debtor Relationship
Disisict When
MM / BD IYYYY

Case number, if Known

Check all that apply:
BhNepior has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

(GI A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district,

 

Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

12.

oO
~ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.}

CH tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

CJ] It needs to be physicaily secured or protected from the weather.

C) it includes perishable goods or assets that could quickly deteriorate or loge value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options}.

Ci other

 

 

Where is the property?

Number Street

 

 

City State ZIP Code

Is the property insured?
Ld No

Gl Yes. Insurance agency

 

Contact name

 

Phone

 

= Statistical and administrative information

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
Case o-2Z1l-/l/20-laS Vocl Filed Ov/éyizi Entered Os/oO/2l 1040104

om INSIDE GROUP LLC

Case number (if known)

 

13. Debtor's estimation of
available funds

Check one:

Beer will be available for distribution to unsecured creditors.

fier any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

+4. Estimated number of
creditors

15. Estimated assets

A140
C] 50-99
i) 100-199
C] 200-999

‘Beo-$50.000
$50,001-$100,000

“(al $100,001-$500,000
C2 $500,001-$1 miltion

 

CI 4,000-5,000
(2) 5,001-40,000
() 10,001-25,000

LY $1,000,004-$40 million

C) $10,000,001-$50 milion
C3 $50,000,001-$100 mifion
‘(2 $100,000,001-$590 million

LJ 25,001-50,000
C4) 50,004-100,000
E] More than 100,000

{] $500,060,001-$1 billion

(1 $1,000,000,061-$10 billion
CI $10,000,000,001-$50 billion
C2 More than $80 billion

 

16. Estimated liabilities

LI $0-$50,006

C3 $50,001-$100,000
C4 $400,001-$500,000
(J $500,001-$1 million

Nd ,000,001-$40 million
€) $10,000,004-$50 million
£7 $50,000,004-$100 million
{J $100,000,001-$500 million

CI $500,000,001-$1 bition

CI $1,000,000,001-$16 bilfion
C3 $10,000,000,001-$50 billion
C3 More than $50 billion

 

 

| | Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a faise statement in connection with a bankruptcy case can result in fines up to
$5G0,00C or imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152, 1341, 1619, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and ccrrect.

Executed on A tf Chey

MM /DDIY¥

Signature of authehized representative of debtor

Menor

Title

CnorSegae Pde

Printed name

 

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Voluntary Petition for Non-lndividuals Filing for Bankruptcy

page 4
Case o-4Z1l-/l/f/20-laS Vocl Filed Ov/éyizi Entered Os/oO/2l 10407104

Debtor WDE EKUYP KEL Case number (# krown}, .

 

18, Signature of attorney &

 

 

 

 

 

 

 

 

 

Date
Signature of attorney for debfor MM /DD IYYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 2014 Voluntary Petition for Non-individuats Filing for Bankruptcy page 5
Case o-4Z1l-/l/f/20-laS Vocl Filed Ov/éyizi Entered Os/oO/2l 10407104

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
- x

 

 

Inre: (ALY word Cry LEC Chapter |
apter
Debtor(s)
_-- X
AFFIRMATION OF FILER(S)

 

All individuals filing a bankruptcy petition on behalf of a pro se debtor(s), must provide the following
information:

 

 

 

 

Name of Filer: Very, C \ wee

Address: CQ = Qooum o- Avec. Dew, Me \wMa, LL [}ty¥?
Email Address: Bacry 2 POC Erg G Gone Ne to

Phone Number: C16 ) bsu - 21 ¥y¥

Name of Debtor(s): Wh Ande Gry LEC

 

CHECK THE APPROPRIATE RESPONSES:
ASSISTANCE PROVIDED TO DEBTOR(S):

IT PREPARED THE PETITION AND/OR ASSISTED WITH THE PAPERWORK BY DOING
THE FOLLOWING: |

 

 

xX I DID NOT PROVIDE THE PAPERWORK OR ASSIST WITH COMPLETING THE FORMS,

KEE RECEIVED:
A I WAS NOT PAID.

' TWAS PAID.
Amount Paid: $

I/We hereby affirm the information above under the penalty of perjury.

a

Dated: 24 \ 2-| (~~ fa
Filer’s Siena
Case o-41l-/l/f/20-laS Vocl Filed Ov/éyizi Entered Os/oO/2l 10740704

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

WALA PE. GIMP fle ls

In Re:
Case No.
Chapter | }

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her

knowledge.

Dated: {ne | ,

CHeyle 02a

Debtor fl

 

Joint Debtor

 

. Attorney for Debtor

USBC-44 Rev.3/17/05
Case o-Z1-fl/20-laS DOC 1

TEMPLE VIEW FUNDING INC
555 57 AVENUE NEW YORK

NY 10017

Fied OvizyizZi Entered Os/se0/21l 1074004
 

ee
4

 

Cas€ o-41-/L/c0-las Doc lL Filed Usiezvicl Entered Uy/soUizt LO-40/04

 

United States Bankruptcy Court
Eastern District of New York

Drop box filer form (to be filled out and added to envelope):

, 4 . . 7

Filer’s Full Name: dave ba Le Win (=nwp Ce
. UV he i

Address: _ [ Koy ASR. Onn J Mani M4

) } Wy
Phone Number: § /6 ~65U- 2757 a

Email Address; arcy « Pda Gro) & mak, Ce

Fo

If required, Related Case Number:

 

Debtor(s) names: Wirnsr ke, (voy ECC

 

qa/aaNnso38
A

 

 

 

 

 

 

 

 

 
